                        IN THE UNITED STATES DISTRICT COURT

                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                                CRIMINAL NO:           l1~\q1
                   v.                                    DATE FILED:
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 RICHARD BOYLE                                           VIOLATIONS:
                                                         18 U.S.C. § 2113(a) (bank robbery -
                                                         11 counts)
                                                         18 U.S.C. § 924(c) (brandishing,
                                                         using, and carrying a firearm during
                                                         and in relation to a crime of violence
                                                         -10 counts)
                                                         18 U.S.C. § 1956 (money laundering -
                                                         10 counts)
                                                         Notices of forfeiture



                                         INDICTMENT

                                          COUNT ONE

THE GRAND JURY CHARGES THAT:

               On or about June 8, 2012, in the Eastern District of Pennsylvania, defendant

                                       RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

Colonial American Bank, 300 Welsh Road, Horsham, Pennsylvania, lawful currency of the

United States, that is, approximately $49,464, belonging to, and in the care, custody, control,

management and possession of Colonial American Bank, the deposits of which were insured by

the Federal Deposit Insurance Corporation.

               In violation of Title 18, United States Code, Section 2113(a).
                                           COUNT TWO

THE GRAND JURY FURTHER CHARGES THAT:

                On or about June 8, 2012, in Horsham, in the Eastern District of Pennsylvania,

defendant

                                        RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be ,. prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count One of this indictment.

               In violation of Title 18, United States Code, Sections 924(c)(1 ).




                                                  2
                                         COUNT THREE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about September 28, 2012, in the Eastern District of Pennsylvania,

defendant

                                       RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

First Federal Bank, 803 Park Avenue, Wrightstown, Pennsylvania, lawful currency of the United

States, that is, approximately $7,246, belonging to, and in the care, custody, control,

management and possession of First Federal Bank, the deposits of which were insured by the

Federal Deposit Insurance Corporation.

                  In violation of Title 18, United States Code, Section 2113(a).




                                                 3
                                         COUNT FOUR

THE GRAND JURY FURTHER CHARGES THAT:

               On or about January 18, 2013, in the Eastern District of Pennsylvania, defendant

                                       RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

Wells Fargo Bank, 706 Stony Hill Road, Yardley, Pennsylvania, lawful currency of the United

States, that is, approximately $34,910, belonging to, and in the care, custody, control,

management and possession of Wells Fargo Bank, the deposits of which were insured by the

Federal Deposit Insurance Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




                                                 4
                                          COUNT FIVE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about January 18, 2013, in Yardley, in the Eastern District of Pennsylvania,

defendant

                                       RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count Four of this indictment, and

brandished that firearm.

               In violation of Title 18, United States Code, Sections 924(c)(l).




                                                 5
                                          COUNT SIX

THE GRAND JURY FURTHER CHARGES THAT:

               On or about March 30, 2013, in the Eastern District of Pennsylvania, defendant

                                      RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

PNC Bank, 1015 Bethlehem Pike, Ambler, Pennsylvania, lawful currency of the United States,

that is, approximately $29,777, belonging to, and in the care, custody, control, management and

possession of PNC Bank, the deposits of which were insured by the Federal Deposit Insurance

Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




                                                6
                                         COUNT SEVEN

THE GRAND JURY FURTHER CHARGES THAT:

                On or about March 30, 2013, in Ambler, in the Eastern District of Pennsylvania,

defendant

                                       RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count Six of this indictment, and brandished

that firearm.

                In violation of Title 18, United States Code, Sections 924(c)(l).




                                                 7
                                         COUNT EIGHT

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 24, 2013, in the Eastern District of Pennsylvania, defendant

                                       RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

Harleysville Savings Bank, 1889 East Ridge Pike, Royersford, Pennsylvania, lawful currency of

the United States, that is, approximately $13,854, belonging to, and in the care, custody, control,

management and possession of Harleysville Savings Bank, the deposits of which were insured by

the Federal Deposit Insurance Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




                                                8
                                          COUNT NINE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 24, 2013, in Royersford, in the Eastern District of Pennsylvania,

defendant

                                       RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count Eight of this indictment, and

brandished that firearm.

               In violation of Title 18, United States Code, Sections 924(c)(1 ).




                                                 9
                                          COUNT TEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 24, 2013, in the Eastern District of Pennsylvania, defendant

                                       RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

Univest Bank, 4285 Township Line Road, Schwenksville, Pennsylvania, lawful currency of the

United States, that is, approximately $13,365, belonging to, and in the care, custody, control,

management and possession ofUnivest Bank, the deposits of which were insured by the Federal

Deposit Insurance Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




                                                10
                                        COUNT ELEVEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about May 24, 2013, in Schwenksville, in the Eastern District of

Pennsylvania, defendant

                                       RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count Ten of this indictment, and

brandished that firearm.

               In violation of Title 18, United States Code, Sections 924(c)(l).




                                                11
                                       COUNT TWELVE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about August 30, 2013, in the Eastern District of Pennsylvania, defendant

                                       RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

Wells Fargo Bank, 25 West Skippack Pike, Ambler, Pennsylvania, lawful currency of the United

States, that is, approximately $74,337, belonging to, and in the care, custody, control,

management and possession of Wells Fargo Bank, the deposits of which were insured by the

Federal Deposit Insurance Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




                                                12
                                      COUNT THIRTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about August 30, 2013, in Ambler, in the Eastern District of Pennsylvania,

defendant

                                       RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count Twelve of this indictment, and

brandished that firearm.

               In violation of Title 18, United States Code, Sections 924(c)(l).




                                                13
                                      COUNT FOURTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about January 2, 2014, in the Eastern District of Pennsylvania, defendant

                                       RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

First Priority Bank, 10 Sentry Parkway, Blue Bell, Pennsylvania, lawful currency of the United

States, that is, approximately $60,000, belonging to, and in the care, custody, control,

management and possession of First Priority Bank, the deposits of which were insured by the

Federal Deposit Insurance Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




                                                14
                                        COUNT FIFTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about January 2, 2014, in Blue Bell, in the Eastern District of Pennsylvania,

defendant

                                       RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count Fourteen of this indictment, and

brandished that firearm.

               In violation of Title 18, United States Code, Sections 924(c)(l).




                                                15
                                       COUNT SIXTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about January 6, 2015, in the Eastern District of Pennsylvania, defendant

                                      RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

Wells Fargo Bank, 481 West Germantown Pike, Plymouth Meeting, Pennsylvania, lawful

currency of the United States, that is, approximately $90,618, belonging to, and in the care,

custody, control, management and possession of Wells Fargo Bank, the deposits of which were

insured by the Federal Deposit Insurance Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




                                                16
                                     COUNT SEVENTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about January 6, 2015, in Plymouth Meeting, in the Eastern District of

Pennsylvania, defendant

                                       RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count Sixteen of this indictment, and

brandished that firearm.

               In violation of Title 18, United States Code, Sections 924(c)(l).




                                                17
                                      COUNT EIGHTEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about July 3, 2015, in the Eastern District of Pennsylvania, defendant

                                       RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

Wells Fargo Bank, 1675 Limekiln Pike, Dresher, Pennsylvania, lawful currency of the United

States, that is, approximately $89,371, belonging to, and in the care, custody, control,

management and possession of Wells Fargo Bank, the deposits of which were insured by the

Federal Deposit Insurance Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




                                                18
                                      COUNT NINETEEN

THE GRAND JURY FURTHER CHARGES THAT:

               On or about July 3, 2015, in Dresher, in the Eastern District of Pennsylvania,

defendant

                                       RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count Eighteen of this indictment, and

brandished that firearm.

               In violation of Title 18, United States Code, Sections 924(c)(l).




                                                 19
                                       COUNT TWENTY

THE GRAND JURY FURTHER CHARGES THAT:

               On or about July 2, 2016, in the Eastern District of Pennsylvania, defendant

                                      RICHARD BOYLE

knowingly and unlawfully by force and violence, and by intimidation, took from employees of

PNC Bank, 1216 Welsh Road, North Wales, Pennsylvania, lawful currency of the United States,

that is, approximately $32,744, belonging to, and in the care, custody, control, management and

possession of PNC Bank, the deposits of which were insured by the Federal Deposit Insurance

Corporation.

               In violation of Title 18, United States Code, Section 2113(a).




                                               20
                                    COUNT TWENTY-ONE

THE GRAND JURY FURTHER CHARGES THAT:

               On or about July 2, 2016, in North Wales, in the Eastern District of Pennsylvania,

defendant

                                       RICHARD BOYLE

knowingly used and carried a firearm during and in relation to a crime of violence for which he

may be prosecuted in a court of the United States, that is, bank robbery, in violation of Title 18,

United States Code, Sections 2113(a), as charged in Count Twenty of this indictment, and

brandished that firearm.

               In violation of Title 18, United States Code, Sections 924(c)(l).




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                    COUNTS TWENTY-TWO THROUGH THIRTY-ONE

THE GRAND JURY FURTHER CHARGES THAT:

               At all times material to this indictment:

               1.      Square, Inc., was a financial services company based in San Francisco,

California. Square, Inc., provided its customers with the ability to accept credit and debit card

payments using a mobile device. In this manner, Square, Inc., assisted many small business

owners accept credit and debit cards for payment without the need for conventional credit card

terminals. In exchange for its financial services, Square, Inc., charged its customers a fee based

upon the amount of funds processed.

               2.      Defendant RICHARD BOYLE established an account at Square, Inc., for

his photography business, sometimes called Sky Eye View, based out of his home in

Doylestown, Pennsylvania. Between 2012 and 2016, defendant BOYLE's photography

business received very little revenue and earned no profits.

               3.     Between 2012 and 2016, defendant RICHARD BOYLE committed a

series of bank robberies as described in Counts One through Eleven. Through these bank

robberies, defendant BOYLE stole approximately $495,686 in U.S. currency.

               4.     In order to conceal the source of the bank robbery proceeds, defendant

RICHARD BOYLE pretended that these proceeds came from his photography business. To

support that ruse and pretend that his business had substantial revenue, defendant BOYLE used

his own credit cards to process $17,000 in transactions through Square, Inc., using the proceeds

of the bank robberies. Square, Inc., charged defendant BOYLE a fee of $457.50 for processing

these transactions and deposited the remaining $16,542.50 into defendant BOYLE's account.


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                5.     On or about the dates set forth below, in the Eastern District of

Pennsylvania, defendant

                                        RICHARD BOYLE

knowingly conducted the following financial transactions affecting interstate commerce, each

transaction constituting a separate count:

       COUNT                      DATE                             DESCRIPTION
    TWENTY-TWO                April 22, 2015            $1000 transaction through Square, Inc.
   TWENTY-THREE               April 27, 2015            $1500 transaction through Square, Inc.
   TWENTY-FOUR                 May4, 2015               $1500 transaction through Square, Inc.
    TWENTY-FIVE               May 16, 2015               $500 transaction through Square, Inc.
     TWENTY-SIX               June 22, 2015             $1000 transaction through Square, Inc.
   TWENTY-SEVEN               June 29, 2015             $2500 transaction through Square, Inc.
   TWENTY-EIGHT               March 9, 2016             $1500 transaction through Square, Inc.
    TWENTY-NINE               April 29, 2016            $3000 transaction through Square, Inc.
       THIRTY                 May 24, 2016              $3500 transaction through Square, Inc.
     THIRTY-ONE              October, 14, 2016          $1000 transaction through Square, Inc.


               6.      When conducting the financial transactions described in paragraph 5

above, defendant RICHARD BOYLE knew that the property involved in those financial

transactions represented the proceeds of some form of unlawful activity.

               7.      The financial transactions described in paragraph 5 above involved the

proceeds o.f a specified unlawful activity, that is, bank robbery, in violation of 18 U.S.C.

§ 2113(a), and defendant RICHARD BOYLE acted with the knowledge that the transactions

were designed, in whole and in part, to conceal and disguise the nature, location, source,

ownership, and control of the proceeds of the specified unlawful activity.

               All in violation of Title 18, United States Code, Section 1956(a)(l)(B)(i).




                                                 23
                                NOTICE OF FORFEITURE No.1

THE GRAND JURY FURTHER CHARGES THAT:

                1.     As a result of the violations of Title 18, United States Code, Section

2113(a) as set forth in this indictment, defendant

                                       RICHARD BOYLE

shall forfeit to the United States of America any property that constitutes, or is derived from,

proceeds traceable to the commission of such offenses.

               2.      If any of the property subject to forfeiture, as a result of any act or

omission of the defendant:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the Court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

                               without difficulty;

it is the intent of the United States, pursuant to Title 28, United States Code, Section 2461(c),

both incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendants up to the value of the property subject to forfeiture.

               All pursuant to Title 28, United States Code, Section 2461 (c) and Title 18, United

States Code, Section 981(a)(l)(C).




                                                 24
                               NOTICE OF FORFEITURE No. 2

THE GRAND JURY FURTHER CHARGES THAT:

                1.     As a result of the violations of Title 18, United States Code, Section

1956 set forth in this indictment, defendant

                                        RICHARD BOYLE

shall forfeit to the United States of America any property, real or personal, involved in such

violation, and any property traceable to such property.

               2.      If any of the property subject to forfeiture, as a result of any act or

 omission of the defendants:

                       (a)     cannot be located upon the exercise of due diligence;

                       (b)     has been transferred or sold to, or deposited with, a third party;

                       (c)     has been placed beyond the jurisdiction of the Court;

                       (d)     has been substantially diminished in value; or

                       (e)     has been commingled with other property which cannot be divided

                               without difficulty;

it is the intent of the United States, pursuant to Title 18, United States Code, Section 982(b),




                                                 25
incorporating Title 21, United States Code, Section 853(p), to seek forfeiture of any other

property of the defendants up to the value of the property subject to forfeiture.

               All pursuant to Title 18, United States Code, Section 982.



                                              A TRUE BILL:




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LOUIS D. LAPPEN
Acting United States Attorney




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